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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                      )
                                               )
               Plaintiffs,                     )              ORDER
                                               )
       vs.                                     )
                                               )              Case No. 4:13-cr-066-5
Cassie Lynn Packineau,                         )
                                               )
               Defendant.                      )

       The court has been advised that defendant has been accepted into a residential in-patient

treatment program at the North Central Human Service Center (“NCHSC”) in Minot, North Dakota,

Defendant is scheduled to begin her treatment on Monday, August 12, 2013, at 9:00 a.m.

       Defendant shall be released to the custody of her father, Monte Packineau, no earlier that

6:30 a.m. on August 12, 2013, for transport to the NCHSC’s treatment facility. Defendant shall

remain at the NDCHSC’s treatment facility and abide by its rules and regulations. Upon completion

of her treatment, she is to immediately report to the Pretrial Services Office in Minot, North Dakota.

       IT IS SO ORDERED.

       Dated this 8th day of August, 2013.



                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr., Magistrate Judge
                                                      United States District Court
